Case 13-15267-elf     Doc 642     Filed 01/31/17 Entered 02/01/17 09:07:03          Desc Main
                                  Document     Page 1 of 1



                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                             :      Chapter 12
                                                   :
       RENEE M. THORPE,                            :
                                                   :
                      Debtor                       :      Bky. No. 13-15267 ELF

                                        ORDER
       AND NOW, following a telephone conference with counsel, it is hereby ORDERED that

the hearing on the Debtor’s Motion to Release Funds in the Court Registry (Doc. # 637),

presently scheduled on February 8, 2017, is CONTINUED GENERALLY pending further

order of this court




Date: January 31, 2017
                                    ERIC L. FRANK
                                    CHIEF U.S. BANKRUPTCY JUDGE
